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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HIXSON2016 OK 116Case Number: SCBD-6453Decided: 11/14/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 116, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
W. Mark Hixson, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Plea, in which W. Mark Hixson entered a plea of nolo contendere to two misdemeanor counts of Soliciting Prostitution, in violation of 21 O.S.2011 §1029, occurring on August 1, 2016, and August 8, 2016. The OBA also forwarded a certified copy of the Deferred Sentence.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that W. Mark Hixson is immediately suspended from the practice of law. W. Mark Hixson is directed to show cause, if any, no later than November 28, 2016, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until December 9, 2016, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, W. Mark Hixson has until December 28, 2016, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until January 13, 2017, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT on November 14, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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